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                                             UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
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                                          January 13, 2020

VIA ECF

The Honorable P. Kevin Castel
United States District Judge
United States Courthouse
500 Pearl Street, Courtroom 11D
New York, NY 10007-1312

       Re:      SEC v. Rashid, No. 17-cv-8223-PKC (S.D.N.Y.)

Dear Judge Castel:

        During the trial of this matter on January 7, 2020, Your Honor asked the SEC whether all the
expenses that appear on PX 111 (BDO spreadsheet) for the time period January 2, 2011 through
March 2013 are included in the 52 pages of attachment to PX 96 (Michel spreadsheet). (Tr. at 1085)
Based on our review of PX 111 there are 131 entries on that exhibit that are not included in PX 96 for
the time period January 3, 2011 through March 18, 2013. Each of these 131 entries on PX 111 have
a notation that states “Not on Ali’s Sch” in the first column. Below is an example for Item 1129 on
PX 111 with such a notation:




      Your Honor also asked which of the BDO line items covered by the SEC on examination of
Mr. Rashid are included in PX 96. (Tr. at 1085). The following BDO line items covered by the SEC
on examination of Mr. Rashid are included in PX 96:
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       BDO 786                            BDO 1443                            BDO 1705

       BDO 790                            BDO 1454                            BDO 1752

       BDO 791                            BDO 1455                            BDO 1777

       BDO 792                            BDO 1456                            BDO 1788

       BDO 793                            BDO 1457                            BDO 1852

       BDO 957                            BDO 1458                            BDO 2097

       BDO 958                            BDO 1459                            BDO 2246

       BDO 971                            BDO 1460                            BDO 2323

       BDO 972                            BDO 1461                            BDO 2325

       BDO 1241                           BDO 1462                            BDO 2327

       BDO 1244                           BDO 1463                            BDO 2335

       BDO 1253                           BDO 1464                            BDO 2537

       BDO 1270                           BDO 1466                            BDO 2346

       BDO 1292                           BDO 1563                            BDO 2399

       BDO 1442                           BDO 1704

        Your Honor also asked the SEC which of these items Mr. Rashid indicated he would take as
personal. Tr. at 1086. For BDO line items 790-793, 1463, 1464, 1788, 2325, and 2399, Mr. Rashid
made an indication on PX 96 that he would take them as “personal.” For the rest of the items listed
above, Mr. Rashid either added comments in an attempt to justify the expense or did not provide any
further explanation for the expense.

       Finally, the SEC’s examination of Mr. Rashid included the following BDO line items that are
not found on PX 96: BDO 1103; BDO 1129; BDO 1138; and BDO 1169, each of which contain the
annotation “Not on Ali’s Sch.”
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        Please let us know if Your Honor would like us to provide additional information or have
further questions about this issue.



                                                  Respectfully submitted,

                                                  s/Duane K Thompson

                                                  Duane K. Thompson



cc: Counsel of Record (via ECF)
